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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DISTRICT OF COLUMBIA

ROY STEWART MOORE and                           )
KAYLA MOORE,                                    )
                                                )
           Plaintiffs,                          )
                                                )
v.                                              )   Case No. 1:18-cv-02082
                                                )
SACHA NOAM BARON COHEN,                         )
SHOWTIME NETWORKS, INC., and                    )
CBS CORPORATION,                                )
                                                )
           Defendants.                          )


      NOTICE OF ERRATA TO DEFENDANTS’ MOTION TO TRANSFER CASE
                     PURSUANT TO 28 U.S.C. § 1404(a)

       Defendants hereby notify this Court that the name of the attorney signing Defendants’

Motion to Transfer Case Pursuant to 28 U.S.C. § 1404(a), ECF No. 6, and the accompanying

Memorandum of Points and Authorities in Support of Defendants’ Motion to Transfer Case

Pursuant to 28 U.S.C. § 1404(a), ECF No. 6-1, which is currently Eric J. Feder (D.C. Bar

Number 1048522), should be changed to be Lisa B. Zycherman (D.C. Bar Number 495277),

with the email address changed from ericfeder@dwt.com to lisazycherman@dwt.com.

       Dated: March 15, 2019.

                                            Respectfully submitted,

                                                   /s/ Lisa B. Zycherman
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        Case 1:18-cv-02082-TFH Document 27 Filed 03/15/19 Page 2 of 2



                                   CERTIFICATE OF SERVICE

      I hereby certify that, on the date below, I caused the foregoing Notice of Errata to be

served via ECF on the following persons:


      Larry E. Klayman
      Klayman Law Group, P.A.
      7050 W. Palmetto Park Road, #15-287
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      Dated: March 15, 2019                             /s/ Lisa B. Zycherman
         Case 1:18-cv-02082-TFH Document 27-1 Filed 03/15/19 Page 1 of 3



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ROY STEWART MOORE and KAYLA
MOORE,

                      Plaintiffs,
                                                          Civil Action No. 1:18-cv-02082
v.

SACHA NOAM BARON COHEN,
SHOWTIME NETWORKS, INC., AND
CBS CORPORATION,

                      Defendant.


                      DEFENDANTS’ MOTION TO TRANSFER CASE
                           PURSUANT TO 28 U.S.C. § 1404(a)

       Defendants Sacha Baron Cohen (“Cohen”), Showtime Networks Inc. (“SNI”), and CBS

Corporation (“CBS”) (collectively, “Defendants”), by and through their undersigned counsel and

pursuant to 28 U.S.C. § 1404(a), hereby respectfully move to transfer the above-captioned to the

United States District Court for the Southern District of New York. In support of their motion,

Defendants rely on the accompanying Memorandum of Points and Authorities (the

“Memorandum”), the Declaration of Todd Schulman and the Declaration of Brendan Countee.

       As set forth in the Memorandum, the Court should transfer this case pursuant to a valid

and enforceable forum selection clause signed by Plaintiff Roy S. Moore. The Supreme Court

has made clear that forum selection clauses must be “given controlling weight in all but the most

exceptional cases” by transferring the case under 28 U.S.C. § 1404. Atl. Marine Const. Co. v.

U.S. Dist. Court for W. Dist. of Texas, 571 U.S. 49, 60 (2013). This is plainly not an exceptional

case and the Court should accordingly transfer this action in its entirety to the Southern District

of New York.
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       Pursuant to Local Rule 7(m), undersigned counsel contacted Plaintiffs’ counsel to seek

consent for the relief sought in this motion. Plaintiffs’ counsel declined to so consent.

       WHEREFORE, Defendants respectfully request the entry of an order transferring this

case to the United States District Court for the Southern District of New York pursuant to 28

U.S.C. § 1404(a). A proposed order is attached.

Dated: October 23, 2018


                                              Respectfully submitted,

                                              /s/ Lisa Beth Zycherman
                                              Elizabeth A. McNamara (pro hac vice forthcoming)
                                              Rachel F. Strom (pro hac vice forthcoming)
                                              Lisa B. Zycherman (DC Bar No. 495277)

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                                                 2
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                                      CERTIFICATE OF SERVICE

       I hereby certify that, on this date, I caused Defendants’ corrected Motion to Transfer Case

Pursuant to 28 U.S.C. § 1404(a), supporting Memorandum, and supporting Declarations of Todd

Schulman and Brendan Countee to be filed and served electronically via the Court’s ECF system

upon counsel of record.


Dated: October 23, 2018

                                              /s/ Eric J. Feder
                                              Eric J. Feder




                                                 3


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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


  ROY STEWART MOORE and KAYLA
  MOORE,

                       Plaintiffs,
                                                      Civil Action No. 1:18-cv-02082
  v.

  SACHA NOAM BARON COHEN,
  SHOWTIME NETWORKS, INC., AND
  CBS CORPORATION,

                       Defendant.



   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANTS’
        MOTION TO TRANSFER CASE PURSUANT TO 28 U.S.C. § 1404(A)

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                           Showtime Networks Inc. and CBS Corporation
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          Defendants Sacha Baron Cohen (“Cohen”), Showtime Networks Inc. (“SNI”), and CBS

Corporation (“CBS”) (collectively, “Defendants”) submit this memorandum of points and

authorities in support of their motion pursuant to 28 U.S.C. § 1404(a) for an order transferring

this action to the United States District Court for the Southern District of New York pursuant to a

valid and binding agreement signed by plaintiff Roy S. Moore (“Judge Moore”).

                                 PRELIMINARY STATEMENT

          In this lawsuit, a prominent public official—former Chief Justice of the Alabama

Supreme Court and recent candidate for the United States Senate, Roy S. Moore—sues the

makers of the political comedic television series Who Is America? (the “Program”) for

lampooning the public controversy over reports that Judge Moore had inappropriate relationships

with young women. Despite admittedly having signed a Standard Consent Agreement waiving

all claims arising out of his participation in the Program (Compl. ¶ 24), Judge Moore now asserts

claims for defamation, intentional infliction of emotional distress and fraud on behalf of himself

and his wife, Kayla Moore (“Ms. Moore”).1

          Thirty years ago, the Supreme Court concluded that exactly these types of claims are

barred by the First Amendment in Hustler Magazine, Inc. v. Falwell, 485 U.S. 46 (1988), which

underscored the vital role that political satire of those in power has played throughout the history

of this country. Id. at 54 (“Despite their sometimes caustic nature, from the early cartoon

portraying George Washington as an ass down to the present day, graphic depictions and satirical

cartoons have played a prominent role in public and political debate.”). Plaintiffs’ claims are

also completely barred by the Consent Agreement Judge Moore signed waiving all claims




1
    Judge Moore and Ms. Moore are referred to collectively as the “Plaintiffs.”
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against “anyone associated with the Program” that are “related to the Program or its production.”

See Declaration of Todd Schulman (“Schulman Decl.”) Ex. A (“Consent Agreement”) ¶ 4.2

       However, this Court need not reach any of these issues because this case cannot be

litigated here. The Consent Agreement Judge Moore signed includes a clear, mandatory forum

selection clause providing that, although the claims asserted in this case are all waived, if he

nevertheless brings any claim “related to the Program or its production,” such claim “must be

brought before, and adjudicated by, only a competent court located in the State and County of

New York, and governed by the substantive laws of the State of New York.” Consent

Agreement ¶ 5 (emphasis added). The Consent Agreement states further that the forum selection

clause “is intended by the parties to stand on its own, and it is intended to be valid and

enforceable, even if a court finds that other paragraphs are not valid or enforceable.” Id.

       The Supreme Court has made clear that forum selection clauses must be “given

controlling weight in all but the most exceptional cases,” and instructed courts to enforce such

clauses by transferring a case to the designated judicial district under 28 U.S.C. § 1404(a)

(“Section 1404(a)”). Atl. Marine Constr. Co. v. U.S. Dist. Court for W. Dist. of Tex., 571 U.S.

49, 60 (2013) (citation omitted). This run-of-the-mill tort action is plainly not an “exceptional

case[]” and the Court should therefore transfer this action to the Southern District of New York.




2
  Indeed, a nearly identical consent agreement to the one Judge Moore signed has been upheld to
bar similar claims in past lawsuits against the same comedian, Defendant Sacha Baron Cohen,
from individuals featured in his film, Borat: Cultural Learnings of America for Make Benefit
Glorious Nation of Kazakhstan (“Borat”). See Psenicska v. Twentieth Century Fox Film Corp.,
No. 07 Civ. 10972, 2008 WL 4185752, at *6 (S.D.N.Y. Sept. 3, 2008) (consolidating and
dismissing multiple suits against Mr. Cohen and other producers of the film), aff’d, 409 F. App’x
368 (2d Cir. 2009).



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                                 FACTUAL BACKGROUND

       A.      The Parties

       Plaintiff Roy Moore is the former Chief Justice of the Supreme Court of Alabama.

Compl. at 1. In 2017, he ran for the U.S. Senate for the State of Alabama in a special election to

replace Senator Jeff Sessions, who had been appointed Attorney General of the United States.

During the campaign, Judge Moore faced mounting and widely reported claims that he had

initiated inappropriate sexual encounters with young women—including one who was underage

at the time—in the 1970s, while he was in his 30s. See generally Stephanie McCrummen, et al.,

Woman says Roy Moore initiated sexual encounter when she was 14, he was 32, Wash. Post

(Nov. 9, 2017), http://wapo.st/2zvHx84; Stephanie McCrummen, Woman shares new evidence of

relationship with Roy Moore when she was 17, Wash. Post (Dec. 4, 2017),

http://wapo.st/2AoUTDq.3 On December 12, 2017, Judge Moore lost the election to Democratic

candidate Doug Jones, which many analysts attributed to the allegations made against him. See,

e.g., Alexander Burns & Jonathan Martin, Once a Long Shot, Democrat Doug Jones Wins

Alabama Senate Race, N.Y. Times (Dec. 12, 2017), https://nyti.ms/2C8yEQz (describing Judge

Moore as “scandal-scarred” “after a brutal campaign marked by accusations of sexual abuse and

child molestation”); Jonathan Allen, Alabama’s women wrote the verdict on Roy Moore, NBC

News (Dec. 13, 2017), https://www.nbcnews.com/storyline/2017-elections/alabama-s-women-

wrote-verdict-roy-moore-n829186. But even before his Senate campaign, Judge Moore had been

an outspoken public figure, known for creating controversy. See Jess Bidgood, et al., For Roy

Moore, a Long History of Combat and Controversy (Nov. 18, 2017), https://nyti.ms/2jDqBGI;

Fox News, Who is Roy Moore?, FoxNews.com (Dec. 12, 2017), http://fxn.ws/2Bix2WI

3
  The Court can take judicial notice of these widely reported, recent national news stories. See,
e.g., Hourani v. PsyberSolutions, 690 F. App’x 1, 3 (D.C. Cir. 2017), aff’g 164 F. Supp. 3d 128,
132 & n.1, 136 (D.D.C. 2016); Farah v. Esquire Magazine, 736 F.3d 528, 534 (D.C. Cir. 2013).

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(discussing how Judge Moore was removed from the Alabama Supreme Court twice, first “when

he refused to move a boulder-sized Ten Commandments monument from the statehouse,” and

then permanently in 2016, “after he instructed probate judges to deny marriage licenses to gay

people,” even after the U.S. Supreme Court held that bans on gay marriage were

unconstitutional).

       Plaintiff Kayla Moore is Judge Moore’s wife, and was herself recently an unsuccessful

candidate for political office, running for state Republican Executive Committee in June 2018.

See Connor Sheets, Roy Moore’s wife, Kayla Moore, loses bid for state Republican Executive

Committee, AL.com (June 5, 2018), http://s.al.com/y7j0TPi.

       Defendant SNI, a wholly owned subsidiary of CBS, exhibited the Program on the cable

network it owns and operates, SHOWTIME. See Declaration of Brendan Countee (“Countee

Decl.”) ¶ 4. The Program was created, co-produced, and co-written by its star, the comedian

Defendant Sacha Baron Cohen, who is best known for his other reality-style projects, including

the television series Da Ali G Show, and the films Borat and Brüno. See Schulman Decl. ¶ 2.

       B.      Who Is America?

       The Program is a reality-style series that employs fictional characters, played by Cohen,

from across the political spectrum who conduct actual interviews with real individuals – both

famous and unknown – to expose the disparate views in our country. See Countee Decl. ¶ 6. For

example, Cohen portrays a conservative conspiracy theorist and “citizen journalist” named Billy

Wayne Ruddick Jr., PhD, who skewers the left-leaning views of former Presidential candidates

Bernie Sanders and Jill Stein. He also plays Gio Monaldo, an Italian playboy and fashion

photographer who reveals the vanity in Hollywood through interviews with various celebrities.

And, as is relevant here, Cohen portrays former Mossad agent Erran Morad, an “anti-terror”

expert, who interviews a number of U.S. political pundits and candidates who backed his


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“Kinderguardians” plan to arm school children aged 3 to 16 and teaches a former Republican

state representative how to detect terrorists by yelling racial epithets and wearing a burqa. Id.

        C.     Judge Moore’s Agreement to Participate in Who Is America?

        The third episode of Who Is America? included an interview of Judge Moore by the

fictional Erran Morad character. Compl. ¶ 18; see also Showtime, ‘Roy Moore Interview’ Ep. 3

Official Clip|Who Is America?|SHOWTIME, YouTube (Jul. 29, 2018),

https://youtu.be/3kaJaDx51iw (“YouTube Clip”); Countee Decl. Ex. A. The interview with

Judge Moore took place at a hotel in Washington, D.C. in February 2018. See Compl. ¶ 15.

Prior to the taping, Judge Moore (with Ms. Moore present) signed a Standard Consent

Agreement with “Yerushalayim TV (including its assigns, licensees, parents, subsidiaries, and

affiliates),” which are collectively defined as the “Producer” in the agreement. Consent

Agreement at 1. See Compl. ¶ 24; Schulman Decl. ¶ 10. Yerushalayim Television, LLC is a

company that was used as part of the production of the Program and is wholly owned by Cohen.

Id. ¶¶ 7, 9.

        Judge Moore (referred to in the Consent Agreement as the “Participant”) entered into the

agreement “[i]n exchange for the Producer making a $200 donation to a charity chosen by the

Participant and allowing an opportunity to appear in a television series.” Consent Agreement at

1. In particular, Judge Moore agreed that he

        specifically, but without limitation, waives, and agrees not to bring at any time in
        the future, any claims against the Producer, or against any of its assignees or
        licensees or anyone associated with the Program, which are related to the Program
        or its production, or this agreement, including, but not limited to, claims involving
        assertions of … (h) infliction of emotional distress (whether allegedly intentional
        or negligent), … (m) defamation (such as any allegedly false statements made in
        the Program), … [or] (p) fraud (such as any alleged deception about the Program
        or this consent agreement) ….




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Consent Agreement ¶ 4.4

           The Consent Agreement further provides that it is

           the entire agreement between the Participant and the Producer or anyone else in
           relation to the Program, and the Participant acknowledges that in entering into it,
           the Participant is not relying upon any promises or statements made by anyone
           about the nature of the Program or the identity, behavior, or qualifications of any
           other Participants, cast members, or other persons involved in the Program.
           Participant is signing this agreement with no expectations or understandings
           concerning the conduct, offensive or otherwise, of anyone involved in this
           Program.

Id. ¶ 5.

           Finally, of particular relevance here, the Consent Agreement contains a forum selection

and choice of law clause providing that any claims arising from the Program must be brought in

New York and governed by New York law:

           Although the Participant agrees not to bring any claim in connection with the
           Program or its production, if any claim nevertheless is made, the Participant
           agrees that any such claim must be brought before, and adjudicated by, only a
           competent court located in the State and County of New York, and governed by
           the substantive laws of the State of New York. This paragraph is intended by the
           parties to stand on its own, and it is intended to be valid and enforceable, even if a
           court finds that other paragraphs are not valid or enforceable.

Id. ¶ 6.

           After signing the Consent Agreement, Judge Moore was interviewed for the Program.

The episode containing this interview was first exhibited on SHOWTIME on July 29, 2018. In

the interview, Morad asks Judge Moore why he believes the State of Alabama is so closely

connected to Israel, to which Judge Moore says that “Alabama has always been a state that

valued freedom, valued liberty.” See YouTube Clip; Countee Decl. Ex. A. When asked if

4
 Establishing just how thoroughly he reviewed the Consent Agreement, Judge Moore even made
changes to the Agreement before he executed it. Specifically, among the other waived claims is
one for “intrusion or invasion of privacy (such as any allegedly sexually oriented or offensive
behavior or questioning).” Id. Judge Moore struck out the parenthetical clause containing
examples of that type of claim (but did not strike the waiver of the “intrusion or invasion of
privacy” claim itself), and signed his initials next to that edit. Consent Agreement ¶ 4.

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Alabama has always been a place known for equality, Judge Moore says that “it has”—without a

hint of irony or reflection on Alabama’s history of racial segregation and oppression. Judge

Moore even claims that “it’s part of our heritage, of course,” when asked if people in Alabama

have “always been free whatever their religion or race or sexuality.” See id. Then, clearly

playing off of the widely reported allegations against Judge Moore that emerged during his

Senate campaign, Morad showed Judge Moore a device he says was invented by the Israeli

Army and is able to detect pedophiles. See id.; Compl. ¶ 21. When waving the device in front of

Judge Moore, it “beeps” as if detecting that he was a sex offender—although Morad keeps

saying that the device is “not saying that you are a pedophile, of course not” and “I am not

saying you are a sex offender at all.” YouTube Clip; Countee Decl. Ex. A. Judge Moore cuts

off the interview and leaves.

       D.      This Action

       Notwithstanding the waiver of claims and forum selection clause contained in the

Consent Agreement, on September 5, 2018, Plaintiffs filed this action in this Court, asserting

claims for defamation (on behalf of Judge Moore), intentional infliction of emotional distress (on

behalf of both Plaintiffs) and fraud (on behalf of both Plaintiffs). The Complaint seeks “damages

in excess of $95,000,000 USD,” in addition to costs and attorneys’ fees.

       On October 18, 2018, pursuant to Local Civil Rule 7(m), undersigned counsel requested

Plaintiff’s consent to transfer this case to the Southern District of New York pursuant to the

forum selection clause. Plaintiff’s counsel refused to consent.

                                          ARGUMENT

       This Court should transfer this case to the United States District Court for the District of

New York in accordance with the mandatory forum selection clause that Judge Moore—a

sophisticated legal professional, indeed a former Chief Justice of a state Supreme Court—


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willingly and freely signed. And because Ms. Moore’s claims are wholly derivative of the

claims asserted by Judge Moore, the case should be transferred in its entirety.

I.        FORUM SELECTION CLAUSES MUST BE ENFORCED ABSENT
          EXTRAORDINARY CIRCUMSTANCES

          The Supreme Court has long emphasized that forum selection clauses are “an

indispensable element” in commerce, allowing parties to “agree[] in advance on a forum

acceptable” to them. M/S Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 13–14 (1972). This

principle has “the salutary effect of dispelling any confusion about where suits arising from the

contract must be brought and defended, sparing litigants the time and expense of pretrial motions

to determine the correct forum and conserving judicial resources that otherwise would be

devoted to deciding those motions.” Carnival Cruise Lines, Inc. v. Shute, 499 U.S. 585, 593–94

(1991).

          The Supreme Court recently clarified that a motion to enforce a forum selection clause

and transfer a case to another federal district court is treated as a motion under 28 U.S.C.

§ 1404(a). Atl. Marine Constr., 571 U.S. at 59-60. That statute provides that “[f]or the

convenience of parties and witnesses, in the interest of justice, a district court may transfer any

civil action to any other district or division where it might have been brought or to any district or

division to which all parties have consented.” 28 U.S.C. § 1404(a). Ordinarily, the inquiry

under Section 1404 requires a court to balance various “private” and “public” interest

considerations to determine whether the “convenience of parties and witnesses” and “interest of

justice” weigh in favor of transfer, with some deference granted to the plaintiff’s choice of

venue. See McGowan v. Pierside Boatworks, Inc., 215 F. Supp. 3d 48, 49–50 (D.D.C. 2016).

However, in Atlantic Marine, the Supreme Court unanimously held that, in the context of

motions to transfer, “a proper application of § 1404(a) requires that a forum-selection clause be

given controlling weight in all but the most exceptional cases” because this “promote[s] ‘the

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interest of justice’” under the statute. 571 U.S. at 63 (emphasis added) (internal quotation marks

and citation omitted). Thus, the typical § 1404 “calculus changes … when the parties’ contract

contains a valid forum-selection clause,” such that “the plaintiff’s choice of forum merits no

weight.” Id. at 63 (emphasis added). Instead, “as the party defying the forum-selection clause,

the plaintiff bears the burden of establishing that transfer to the forum for which the parties

bargained is unwarranted.” Id. In doing so, a court “must deem the private-interest factors to

weigh entirely in favor of the preselected forum.” Id. (emphasis added).5 In sum, when faced

with a valid forum selection clause, “a district court should transfer the case unless extraordinary

circumstances unrelated to the convenience of the parties clearly disfavor a transfer.” Id. at 52.

       After Atlantic Marine, courts in this District apply a “two-step analysis” when deciding

motions to transfer pursuant to a forum selection clause. D&S Consulting, Inc. v. Kingdom of

Saudi Arabia, 322 F. Supp. 3d 45, 49 (D.D.C. Aug. 21, 2018), appeal filed, No. 18-7140 (D.C.

Cir. Sept. 18, 2018); Billard v. Angrick, 220 F. Supp. 3d 132, 137 (D.D.C. 2016). First, the court

determines whether there is a valid and enforceable forum selection clause that applies to the

case. See D&S Consulting, 322 F. Supp. 3d at 49; Atl. Marine Constr., 571 U.S. at 62 n.5.

Second, if the forum selection clause is valid and applicable, the court “consider[s] whether

public interest factors ‘overwhelmingly disfavor’ [transfer].” D&S Consulting, 322 F. Supp. 3d

at 49 (quoting Atl. Marine Constr., 571 U.S. at 67). Because this is not an extraordinary case,

the forum selection clause mandates transfer under Section 1404(a).




5
  The private interest factors that would be considered absent a forum selection clause include
the “relative ease of access to sources of proof; availability of compulsory process for attendance
of unwilling, and the cost of obtaining attendance of willing, witnesses; possibility of view of
premises, if view would be appropriate to the action; and all other practical problems that make
trial of a case easy, expeditious and inexpensive.” Atl. Marine Constr., 571 U.S. at 63 n.6
(quoting Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241 n.6 (1981)).

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II.    THE COURT SHOULD TRANSFER THIS CASE PURSUANT TO THE
       MANDATORY FORUM SELECTION CLAUSE

       A.      The Forum Selection Clause Applies to this Case and is Valid

       As to the first part of the “two-step analysis,” the broad and mandatory forum selection

clause applies to all of the claims and all parties in this case and is unquestionably enforceable.

       First, the clause applies to all claims at issue here, as it covers “any claim in connection

with the Program or its production.” Consent Agreement ¶ 6. Plaintiffs’ claims all arise “in

connection with the Program or its production.” Plaintiffs allege Judge Moore was defamed by

statements made during the production of and aired on the Program. See Compl. ¶¶ 18, 21, 27.

They allege that the airing of these allegedly defamatory statements on the Program inflicted

emotional distress on Judge Moore and his family. See id. ¶¶ 22, 32. And they allege that they

were defrauded in connection with participation in the production of the Program. See id. ¶¶ 17-

19, 40-48. But the Court need not closely scrutinize Plaintiffs’ allegations to conclude that the

claims are within the scope of the forum selection clause. The Consent Agreement specifically

defines “any claims … related to the Program or its production” as “including but not limited to”

the exact claims asserted here: “(h) infliction of emotional distress,” “(m) defamation,” and “(p)

fraud.” Consent Agreement ¶ 4. All of the claims are thus subject to the forum selection clause.

       Next, the forum selection clause applies to all of the parties in this case. The application

to Judge Moore is straightforward: he signed the Consent Agreement. And, because Judge

Moore waived all claims against “anyone associated with the Program, which are related to the

Program or its production, or this agreement,” the agreement applies to all Defendants here. Id.

Indeed, Judge Moore brought the claims against the Defendants because of their role in “the

Program or its production, or this agreement.” And the Defendants are all clearly “associated

with the Program,” as Cohen is the creator and star of the Program, and SNI, which is a

subsidiary of CBS, acquired via license the necessary exclusive rights to exhibit and distribute

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the Program. See Klapper v. Graziano, 129 A.D.3d 674, 676, 10 N.Y.S.3d 560, 563 (N.Y. App.

Div. 2015) (holding that “clear intent of” similar television “Appearance Release” signed by

production company was to “release from liability [the signatory company] and those acting with

it or on its behalf to produce the reality show,” and affirming application of release to other

production companies, assignees, and television networks involved in production and airing of

show).

         Although Ms. Moore did not personally sign the Consent Agreement, the forum selection

clause should be enforced against her claims as well. It is well settled that “non-parties and non-

signatories to an agreement may be bound by that agreement’s forum selection clause,” where, as

here, “their conduct is ‘closely related to the contractual relationship’ so that [it] is ‘foreseeable

that they would be bound by such clause.’” Song fi, Inc. v. Google Inc., 72 F. Supp. 3d 53, 60

(D.D.C. 2014) (quoting Sabre Int’l Sec. v. Torres Advanced Enter. Sols., LLC, 60 F. Supp. 3d 21,

32‒35 (D.D.C. 2014)). Ms. Moore is “closely related” to the signatories—and not simply by

marriage to Judge Moore. Courts have “repeatedly found non-signatories ‘closely related’ to

signatories where their interests are completely derivative of and directly related to, if not

predicated upon the signatory party’s interests or conduct.” KTV Media Int’l, Inc. v. Galaxy

Grp., LA LLC, 812 F. Supp. 2d 377, 386–87 (S.D.N.Y. 2011) (citations and internal quotation

marks omitted) (collecting cases).

         Here, Ms. Moore makes no claims of her own—her claims are “completely derivative” of

Judge Moore’s claims. Id. The gravamen of Plaintiffs’ Complaint is that the “false and

fraudulent portrayal and mocking of Judge Moore as a sex offender, on national and

international television … has severely harmed Judge Moore’s reputation and caused him,

Ms. Moore, and his entire family severe emotional distress [and] financial damage.” Compl.

¶ 22 (emphasis added). Where, as here, a second plaintiff’s claims simply “piggy-back” on the


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claims of the signatory, it is eminently “foreseeable” that the forum selection clause will be

applied to all of the claims, even if the additional plaintiff did not personally sign the agreement.

See, e.g., Kotan v. Pizza Outlet, Inc., 400 F. Supp. 2d 44, 48 (D.D.C. 2005) (plaintiff company

bound by forum selection clause signed by its principal because the company’s “claims against

the defendants flow out of [the signatory’s] interactions with the defendants”).6

       Finally, the forum selection clause is enforceable. Under this framework, “[f]orum-

selection clauses are presumptively valid and enforceable unless the party opposing enforcement

meets a heavy burden of proof of showing that the clause is ‘the product of fraud or that its

enforcement would contravene a strong public policy of the forum in which suit is brought.’”

D&S Consulting, 322 F. Supp. 3d at 49 (quoting Marra v. Papandreou, 216 F.3d 1119, 1124

(D.C. Cir. 2000)). Thus, to escape the clause, Plaintiffs must make a “strong showing” that

“enforcement would be unreasonable and unjust,” M/S Bremen, 407 U.S. at 15, by establishing

that “(1) formation of the clause was tainted by fraud or overreaching; (2) enforcement would

effectively deprive the complaining party of his day in court or deprive him of any remedy; or

(3) enforcement would contravene a strong public policy of the forum state.” 2215 Fifth St.

Assocs. v. U-Haul Int’l, Inc., 148 F. Supp. 2d 50, 54–55 (D.D.C. 2001) (citation omitted).

       The second and third factors plainly do not apply here. There is no “public policy” of the

District of Columbia that would preclude enforcement of forum selection clauses generally, or

transfer to the Southern District of New York, in particular. On the contrary, courts in this

Circuit have noted the “‘public policy’ considerations weighing in favor of upholding … forum

selection clause[s],” as “[n]umerous courts have expressed concern that disregard of forum

selection clauses will inhibit ‘the expansion of American business and industry.’” Cheney v. IPD

6
  Even if the forum selection clause did not apply to Ms. Moore, it indisputably does apply to
Judge Moore’s claims, and, for the reasons discussed infra, Section II.C, the case should be
transferred in its entirety to the Southern District of New York, including Ms. Moore’s claims.

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Analytics, LLC, 583 F. Supp. 2d 108, 120 (D.D.C. 2008) (quoting Commerce Consultants Int’l,

Inc. v. Vetrerie Riunite, S.p.A., 867 F.2d 697, 700 (D.C. Cir. 1989))). Plaintiffs also cannot

seriously argue that litigating in a different federal district court four states away from here

would somehow deprive them of their “day in court”—particularly since they already chose to

litigate this case more than 800 miles from their home in Montgomery, Alabama. Indeed, “it

strains credulity to submit that litigating in another federal judicial district would result in an

immoral or illegal result.” Cheney, 583 F. Supp. 2d at 120. See also Bank v. Laptop & Desktop

Repair LLC, 206 F. Supp. 3d 772, 779 (E.D.N.Y. 2016) (“No credible argument has been made

that plaintiff will be deprived of his day in court due to the inconvenience of litigating this

dispute in Nevada, nor that Nevada law is fundamentally unfair or would deprive him of a

remedy.”).

        Thus, Plaintiffs will presumably rely on the first factor here to argue that the forum

selection clause cannot be enforced because “formation of the clause was tainted by fraud or

overreaching.” 2215 Fifth St. Assocs., 148 F. Supp. 2d at 54–55. In fact, Plaintiffs allege in the

Complaint that “the release that Judge Moore had signed was obtained through fraud, and was

therefore void and inoperative.” Compl. ¶ 24. But it is well settled that “[a] claim of fraud in the

inducement of a contract is insufficient to invalidate a forum selection or choice-of-law clause

found in that contract. Rather, it is the inclusion of those specific clauses plaintiffs seek to avoid

that must have been induced by fraud.” Marra v. Papandreou, 59 F. Supp. 2d 65, 68-71 & n.3

(D.D.C. 1999) (citation omitted) (emphasis added), aff’d, 216 F.3d 1119 (D.C. Cir. 2000); see

also 2215 Fifth St. Assocs., 148 F. Supp. 2d at 54–56 (“[F]raud and overreaching must be

specific to a forum selection [clause] in order to invalidate it.”) (citation omitted); Water & Sand

Int’l Capital, Ltd. v. Capacitive Deionization Tech. Sys., Inc., 563 F. Supp. 2d 278, 283–84

(D.D.C. 2008) (“Mere conclusory allegations that a forum selection was induced by fraud and


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misrepresentations are insufficient to overcome the strong presumption in favor of enforcing

forum selection clauses.”).

       Here, Plaintiffs allege that they were defrauded as to the overall nature of the Program,

and purpose of the interview of Judge Moore. Compl. ¶¶ 15-16. But that allegation is

insufficient to void the forum selection clause itself. Of particular relevance here, several of the

participants in Cohen’s movie Borat filed suit in the Northern District of Alabama despite having

signed a nearly identical consent agreement that contained the same forum selection clause as in

Judge Moore’s Consent Agreement. See Streit v. Twentieth Century Fox Film Corp., No. CV

07-J-1918-S, 2008 WL 11422482 (N.D. Ala. Jan. 30, 2008). In an effort to avoid the forum

selection clauses, the Borat participants made similar allegations that they were fraudulently

induced into signing the agreements because the producers claimed to be with “Springland

Films,” which plaintiffs said was a “false name.” Streit v. Twentieth Century Fox Film Corp.,

No. CV-07-J-1918-S, 2008 WL 1814835, at *8 (N.D. Ala. Trial Motion, Memorandum and

Affidavit). Plaintiffs also alleged that the producers promised that they were making “an

educational documentary for Belarus Television,” when in fact they appeared in the comedic

movie Borat, which was distributed by Twentieth Century Fox Film Corporation. Id. at *9. But

the court did not hesitate to transfer the case to the Southern District of New York because “an

allegation of fraud renders a forum selection clause unenforceable solely when ‘the inclusion of

that clause in the contract was the product of fraud or coercion.’” 2008 WL 11422482, at *1

(quoting Lipcon v. Underwriters at Lloyd’s, London, 148 F.3d 1285, 1296 (11th Cir. 1998))

(emphasis added). Because the plaintiffs had not shown that the clause itself was included

through fraud, the case was transferred to New York. Id.

       The same reasoning applies here. Judge Moore makes no allegation that he was

somehow fraudulently induced to agree to the forum selection clause in particular. Instead, he


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asserts that the Consent Agreement he signed was with “Yerushalayim TV”—not SNI—and that

he believed he was being filmed in order to “receive an award for his strong support of Israel.”

Compl. ¶ 15. These overarching allegations of fraud do not invalidate the forum selection clause

in the Consent Agreement.7

       Because Plaintiffs cannot meet their “heavy burden” to show that the forum selection

clause is invalid, it must be enforced unless the “public-interest factors overwhelmingly disfavor

a transfer.” Atl. Marine Constr., 571 U.S. at 60. As discussed below, they don’t.

       B.      The “Public Interest” Factors Weigh In Favor of Transfer

       In Atlantic Marine, the Supreme Court held that when a party files an action in the wrong

forum “in violation of the forum-selection clause,” that party “must bear the burden of showing

that public-interest factors overwhelmingly disfavor a transfer.” Id. at 67. And that party must

make this showing against the backdrop of the Supreme Court’s instruction that “[i]n all but the

most unusual cases … ‘the interest of justice’ is served by holding parties to their bargain” and

transferring the case to the designated forum. Id. at 66. Plaintiffs cannot do so here.

       The relevant public interest factors are (1) “the interest in having the trial of a diversity

case in a forum that is at home with the law”; (2) “the administrative difficulties flowing from

court congestion”; and (3) “the local interest in having localized controversies decided at home.”

Atl. Marine Constr., 571 U.S. at 63 n.6 (citation omitted). Not only do these factors not

“overwhelmingly disfavor a transfer,” on balance, they weigh in favor of transfer.

7
  Any fraudulent inducement argument is further undermined by the fact that Judge Moore
expressly disclaimed any reliance “upon any promises or statements made by anyone about the
nature of the Program or the identity, behavior, or qualifications of any other Participants, cast
members, or other persons involved in the Program.” Consent Agreement ¶ 5. In the Borat
cases, the court enforced the waiver contained in the consent agreements to dismiss the
complaints in full —despite similar fraudulent inducement arguments—based on the principle
that “the defense of fraud in the inducement is foreclosed to a party who disclaims, in the
contract itself, reliance on fraudulent statements allegedly made to induce him to enter into the
contract.” Psenicska, 2008 WL 4185752, at *6.

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       The first factor clearly favors transfer. The Consent Agreement itself contains a choice

of law clause designating “the substantive laws of the State of New York.” Consent Agreement

¶ 6. Thus, the only district “at home with the law” that will govern this case is one in New York.

       The “court congestion” factor is, at best, a wash. Courts in this District analyze this

factor by comparing the respective districts’ “median filing times to disposition in the courts at

issue.” Pueblo v. Nat’l Indian Gaming Comm’n, 731 F. Supp. 2d 36, 40 n.2 (D.D.C. 2010)

(collecting cases). A comparison of the statistics for this District and the Southern District of

New York as of June 30, 2018 (which are made public by the government) shows a negligible

difference in that time period—6.0 months for this District and 6.4 months for the Southern

District of New York. See Federal Court Management Statistics (June 30, 2018), available at

http://www.uscourts.gov/statistics/table/na/federal-court-management-statistics/2018/06/30-1.

Courts hold that such minute differences are “not significant enough to weigh on the issue of

transfer.” Pueblo, 731 F. Supp. 2d at 40 n.2 (comparing 8.3 months and 9.0 months).

       Finally, this is not a “local controversy,” and any interest the District of Columbia might

have in the case is outweighed by that of New York. Although the interview with Judge Moore

happened to be filmed at a hotel in the District, none of the parties reside in the District.

Plaintiffs are residents of Alabama, Mr. Cohen is a resident of California, and both SNI and CBS

are headquartered in New York. Further, as Plaintiffs note, the “wide[] broadcast” of the

Program on “national television and worldwide” by SNI originated in New York. Compl. ¶ 22.

Courts in this District recognize the “special interest” each district court has “in cases involving

companies headquartered in that state.” Kazenercom TOO v. Turan Petroleum, Inc., 590 F.

Supp. 2d 153, 163–64 (D.D.C. 2008) (citing Hitchcock v. United States, 665 F.2d 354, 360 (D.C.

Cir. 1981)). See also Mazzarino v. Prudential Ins. Co. of Am., 955 F. Supp. 2d 24, 32–33

(D.D.C. 2013) (holding that District of New Jersey “has more of a local interest in deciding [a]


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controversy” involving an insurance plan that was “administered in New Jersey” by a company

with its principal place of business there). Thus, the fact that SNI and CBS are headquartered in

New York weighs in favor of transfer there.

       As the Supreme Court cautioned, “[b]ecause [these public interest factors] will rarely

defeat a transfer motion, the practical result is that forum-selection clauses should control except

in unusual cases.” Atl. Marine Constr., 571 U.S. at 64. This is not an unusual case.

       C.      The Entire Case Should Be Transferred to New York

       Finally, the interests of justice also mandate transfer of this entire case, regardless of

whether the forum selection clause is enforceable against Ms. Moore. As a default matter,

“[c]ases transferred pursuant to Section 1404(a) must be transferred in their entirety.” M.M.M.

on behalf of J.M.A. v. Sessions, 319 F. Supp. 3d 290, 294–95 (D.D.C. 2018). But even if the

Court could ostensibly sever and retain jurisdiction over Ms. Moore’s claims, it would make no

sense to do so here. When the claims of different plaintiffs “arise out of the same series of

events”—as they surely do here—“the public interest would be served by keeping all of [the]

claims … together,” because “[t]o rule otherwise would result in needlessly duplicative

proceedings.” Daniels v. Wilkie, No. 17 Civ. 1543, 2018 WL 2324085, at *6–7 (D.D.C. May 22,

2018); see also Gardner v. Mabus, 49 F. Supp. 3d 44, 47–48 (D.D.C. 2014) (“It is in the interest

of justice to transfer the entire complaint rather than have it heard in two different venues.”)

(quoting In re O’Leska, No. 00-5339, 2000 WL 1946653, at *1 (D.C. Cir. 2000)); Fed. Hous.

Fin. Agency v. First Tennessee Bank Nat’l Ass’n, 856 F. Supp. 2d 186, 193–96 (D.D.C. 2012)

(noting “paramount consideration” of “the compelling public interest in avoiding duplicative

proceedings ... and potentially inconsistent judgments”) (citation omitted).

       This case arises from Judge Moore being featured on a television show produced for and

aired by SNI. All of the alleged harm is based on the fact that Judge Moore was purportedly


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“mocked and defamed … on national television.” Compl. ¶ 37. Judge Moore signed a Consent

Agreement waiving any claims arising out of his participation in that show, and agreed that, if he

nevertheless asserted such claims in violation of the Consent Agreement, he must do so in New

York. He cannot “evade the effect of [a] forum-selection clause merely by joining … a non-

signatory to the [agreement]” as an additional, tag-along plaintiff. Novak v. Tucows, Inc., No.

06-CV-1909, 2007 WL 922306, at *13 (E.D.N.Y. Mar. 26, 2007), aff’d, 330 F. App’x 204 (2d

Cir. 2009); see also Sabre Int’l, 60 F. Supp. 3d at 34 (“[W]ere it not for judicial willingness in

appropriate circumstances to enforce forum selection clauses against [non-parties], such clauses

often could easily be evaded.”) (citation omitted); Am. Patriot Ins. Agency, Inc. v. Mutual Risk

Mgmt., Ltd., 248 F. Supp. 2d 779, 785 (N.D. Ill. 2003) (“Plaintiffs cannot escape their

contractual obligations simply by joining parties who did not sign the contract and then claiming

that the forum selection clause does not apply.”), rev’d on other grounds, 364 F.3d 884 (7th Cir.

2004). This case is brought against primarily New York defendants and will be decided by New

York law. And pursuant to the Consent Agreement that is dispositive of the claims, it must be

decided in a New York court.

                                         CONCLUSION

       For all of the reasons set forth above, Defendants respectfully request that the Court

transfer this case in its entirety to the U.S. District Court for the Southern District of New York

pursuant to 28 U.S.C. § 1404(a).

Dated: October 23, 2018

                                              Respectfully submitted,


                                              /s/ Lisa B. Zycherman
                                              Elizabeth A. McNamara (pro hac vice forthcoming)
                                              Rachel F. Strom (pro hac vice forthcoming)
                                              Lisa B. Zycherman (DC Bar No. 495277)


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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ROY STEWART MOORE and KAYLA
MOORE,

                      Plaintiffs,
                                                         Civil Action No. 1:18-cv-02082
v.

SACHA NOAM BARON COHEN,
SHOWTIME NETWORKS, INC., AND
CBS CORPORATION,

                      Defendant.



      DECLARATION OF TODD SCHULMAN IN SUPPORT OF DEFENDANTS’
        MOTION TO TRANSFER CASE PURSUANT TO 28 U.S.C. § 1404(a)

         1.    I served as an Executive Producer and director for the television series Who Is

America? Prior to that, from 2009-2017, I was employed by Four by Two Films, Inc. (“Four By

Two”) as Executive Vice President of Development and Production. I make this Declaration

based on my personal knowledge and am competent to testify to the same.

         2.    Four By Two is a production company owned by Sacha Baron Cohen, a British-

American comedian, actor, screenwriter and producer. He has created a number of reality-style

television programs, including Da Ali G Show, and films, including Borat: Cultural Learnings of

America for Make Benefit Glorious Nation of Kazakhstan and Brüno. I was directly involved in

the production of each of these projects in various capacities, including as a co-producer of

Brüno.

         3.    In 2016, Mr. Cohen and I began developing a new reality-style television series

using fictional characters from across the political spectrum—all portrayed by Mr. Cohen—to

conduct interviews with real people, both famous and unknown, to expose the disparate political
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views in the United States. That program would eventually be titled “Who Is America?” (the

“Program”).

       4.     Mr. Cohen produced the Program in conjunction with certain production

companies, of which he is the ultimate sole owner. Those companies included La Quinta

Entertainment, LLC (“La Quinta”) and Please You Can Touch LLC (collectively, the

“Production Companies”). The Production Companies own the rights to the Program.

       5.     In February 2017, the Production Companies entered into an agreement with

Showtime Networks Inc. (“SNI”) under which the Production Companies licensed the Program

for distribution by SNI, including exhibition on the SHOWTIME cable network.

       6.     The first season of the Program comprised seven episodes, the first of which

premiered on SHOWTIME on July 15, 2018.

       7.     In producing the Program, the Production Companies also worked with certain

affiliated production companies, of which Mr. Cohen was also the ultimate sole owner. One

such affiliated company was Yerushalayim Television, LLC (“YTV”), which is ultimately a

wholly owned subsidiary of La Quinta.

       8.     In my capacity as Executive Producer of the Program, I executed certain

agreements on behalf of YTV, including a Registered Agent Services Agreement with Hirst

Applegate Registered Agent Services, Inc.

       9.     YTV was the production company for a segment featuring an interview between a

character named “Erran Morad” (played by Mr. Cohen) and Judge Roy S. Moore, which was

filmed on February 14, 2018. I was present for and served as Executive Producer for the

production and filming of this segment.




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       10.     Just before filming, Judge Moore signed a Standard Consent Agreement (the

“Consent Agreement”) with YTV as a condition for his participation in the segment. A true and

correct copy of the Consent Agreement signed by Judge Moore and dated February 14, 2018, is

attached hereto as Exhibit A.

       11.     As the Consent Agreement states, Judge Moore entered into the Consent

Agreement “[i]n exchange for the Producer making a $200 donation to a charity chosen by the

Participant and allowing an opportunity for the Participant to appear in a television series.”

Beneath this typed paragraph “Foundation for Moral Law” is written in pen.

       12.     When Judge Moore signed the Consent Agreement, I understand that his wife,

Kayla Moore, was present in the room and was made aware that Judge Moore was signing the

Consent Agreement.

       13.     On February 20, 2018, a Production Company employee made a donation of $200

using Production Company funds to the Foundation for Moral Law, Inc. on behalf of YTV.

       14.     The Program episode containing the segment featuring Judge Moore aired on July

29, 2018.

       I declare under the penalty of perjury pursuant to 28 U.S.C. 1746 that the foregoing is

true and correct to the best of my knowledge and belief.

       EXECUTED this ___
                      23 day of October 2018


                                                      Todd Schulman




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                Exhibit A
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                                              STANDARD CONSENT AGREEMENT

This is an agreement between Yerushalayim TV(including its assigns, licensees, parents, subsidiaries, and affiliates)
(colt     ely, the "Producer") and the undersigned participant (the "Participant"). In exchange for the Producer making a
S           onation to a charity chosen by the Participant and allowing an opportunity for the Participant to appear in a
television series, the Participant agrees as follows:                                  r
                                                                  CLAI Oh                  mo-rzt-12-
           1. The Participant agrees to be filmed and/or audiotaped by the Producer for a reality-style television
series (the "Program"). It is understood that the Producer hopes to reach a young adult audience by using
entertaining content and formats.

           2. The Participant agrees that any rights that the Participant may have in the Program or the Participant's
contribution are hereby assigned to the Producer, and that the Producer shall be exclusively entitled to use, or to assign or
license to others the right to use, the Program and any recorded material that includes the Participant, without restriction
in any media throughout the universe in perpetuity and without liability on the part of the Producer, and the Participant
hereby grants any consents required for that. The Participant also agrees to allow the Producer, and any of its assignees or
licensees, to use the Participant's contribution, photograph, film footage, and biographical material in connection not only
with the Program, but also in any advertising, marketing or publicity for the Program and in connection with any ancillary
products associated with the Program.

         3. The Participant understands that the Producer and its assignees or licensees are relying upon this consent
agreement in spending time, money and effort on the Program and the Participant's participation in it, and that the
consent agreement, for this and other reasons, cannot be revoked.

           4. The Participant specifically, but without limitation, waives, and agrees not to bring at any time in the future,
any claims against the Producer, or against any of its assignees or licensees or anyone associated with the Program, which
are related to the Program or its production, or this agreement, including, but not limited to, claims involving assertions of
(a) failure to adequately compensate Participant, (b) failure to use the footage of Participant in the Program, (c)
infringement of rights of publicity or misappropriation (such as any allegedly improper or unauthorized use of the
Participant's name or likeness or image), (d) damages caused by "acts of God" (such as, but not limited to, injuries from
natural disasters), (e) damages caused by acts of terrorism or war, (f) intrusion or invasion of privacy (
sexual.osieate€1-eosffertshte_lzebaulor.ar..questicwgag43 (g) false light (such as any allegedly false or misleading portrayal of
the Participant), (h) infliction of emotional distress (whether allegedly intentional or negligent), (i) trespass (to property or
person), (j) breach of any alleged contract (whether the alleged contract is verbal or in writing), (k) allegedly deceptive
business or trade practices, (I) copyright or trademark infringement, (m) defamation (such as any allegedly false
statements made In the Program), (n) violations of Section 43(a) of the Lanham Act (such as allegedly false or misleading
statements or suggestions about the Participant In relation to the Program or the Program in relation to the Participant),
(o) prima facie tort (such as alleged intentional harm to the Participant), (p) fraud (such as any alleged deception about the
Program or this consent agreement), (q) breach of alleged moral rights, or (r) tortious or wrongful interference with any
contracts or business of the Participant.

          5. This is the entire agreement between the Participant and the Producer or anyone else in relation to the
Program, and the Participant acknowledges that in entering into it, the Participant is not relying upon any promises or
statements made by anyone about the nature of the Program or the identity, behavior, or qualifications of any other
Participants, cast members, or other persons involved in the Program. Participant is signing this agreement with no
expectations or understandings concerning the conduct, offensive or otherwise, of anyone involved in this Program.

          6. Although the Participant agrees not to bring any claim in connection with the Program or its production, if any
claim nevertheless is made, the Participant agrees that any such claim must be brought before, and adjudicated by, only a
competent court located in the State and County of New York, and governed by the substantive laws of the State of New
York. This paragraph is intended by the parties to stand on its own, and it is intended to be valid and enforceable, even if a
court finds that other paragraphs are not valid or enforceable.

AGREED AND ACCEPTED:
SIGNED:

   4/57 /%0re                                                 Yerusha ylm TV

PRINT:

                                                              Print.

Dated:
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                      EXHIBIT A


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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


ROY STEWART MOORE and KAYLA
MOORE,

                      Plaintiffs,
                                                         Civil Action No. 1:18-cv-02082
v.

SACHA NOAM BARON COHEN,
SHOWTIME NETWORKS, INC., AND
CBS CORPORATION,

                      Defendant.



                                    [PROPOSED] ORDER

       Upon consideration of the motion of Defendants Sacha Baron Cohen, Showtime

Networks Inc., and CBS Corporation to transfer the above-captioned action to the United States

District Court for the Southern District of New York, it is hereby

       ORDERED that said Motion is granted, and it is hereby

       ORDERED that this action is transferred to the United States District Court for the

Southern District of New York.

       SO ORDERED this _____ day of ______________________, 2019.



                                             ________________________
                                             Hon. Thomas F. Hogan
                                             United States District Judge
